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                       IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION


 RUSSELL G. GREER                                             CITY DEENDANTS’
                                                              RESPONSE TO PLAINTIFF’S
                Plaintiff,                                    SUPPLEMENTAL BRIEF RE:
                                                              STANDING AND RIPENESS
        vs.
                                                              Case No. 2:16-cv-01067
 GARY R. HERBERT, in his individual capacity
 as Governor of the State of Utah; SEAN D.                    Judge Dustin B. Pead
 REYES, in his official capacity as Attorney
 General of the State of Utah; SIM S. GILL, in his
 official capacity as District Attorney of the City
 and County of Salt Lake; JACKIE BISKUPSKI,
 in her official capacity as Mayor of the City of
 Salt Lake, BEN MCADAMS, in his official
 capacity as Mayor of the Count of Salt Lake,
 KATHY BERG, in her official capacity as
 Director of the Division of Commerce; JAMES
 ALLRED, in his official capacity as Business
 Licensing Manager for the City of Salt Lake;
 ROLEN YOSHINAGA, in his official capacity as
 Director of Planning and Development of the
 County of Salt Lake,

                Defendants.
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        Defendants Jackie Biskupski and James Allred in their official capacity (collectively the

“City Defendants”), by and through counsel of record, and pursuant to the Court’s Order of April

21, 2017 (Dkt. #34), submit the following Response to Plaintiff’s Supplemental Brief re:

Standing and Ripeness (Dkt. #35).

                                           ARGUMENT

        Plaintiff has not alleged facts that would establish the required elements of standing with

regard to the City Defendants.1 Plaintiff’s Supplemental Brief makes no mention of the City

Defendants and appears to be addressed to the State Defendants and County Defendants.

Moreover, the alleged injuries identified in Plaintiff’s Complaint and Supplemental Brief, even

assuming they meet the requirement of “injury-in-fact,” are not “traceable” to the actions of the

City Defendants, nor can any declaratory or injunctive relief against the City Defendants provide

redress to Plaintiff.

        Plaintiff Greer seeks to challenge the constitutionality of certain criminal and civil laws

enacted by the State of Utah related to prohibitions on acts of prostitution and brothels as defined

therein. Specifically, Plaintiff challenges Utah Code §§ 76-10-1302, -1303, -1304, -1305 and §

47-1-1 et seq. See Complaint ¶¶ 26-31. Plaintiff claims that enforcement of these state laws by

the Governor, the Utah Attorney General and the Salt Lake County District Attorney violates his



1
       The court noted the required elements of standing as set forth in Bronson v. Swensen, 500
F.3d 1099, 1106 (10th Cir. 2007) (explaining the elements of standing) and that the plaintiff bears
the burden of establishing these elements. See id.

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federal and state constitutional rights to due process, equal protection and freedom of speech and

association, and similar claims under the Utah Constitution. See Complaint ¶¶ 31, 89-90, 99,

110, 115-16, 120, 123-24.

       Plaintiff’s alleged injuries are: he was denied a business license from the State of Utah to

operate a brother, he is subject to potential prosecution by the Salt Lake County District

Attorney, Sim Gill, for soliciting prostitutes, and he has suffered economic harm from being

forced to travel to other states where prostitution is legal. None of these injuries involve the City

Defendants in any way. Notably, Plaintiff does not allege any challenge to the constitutionality

of City ordinances. Moreover, he does not allege that he is potentially subject to any threat of

prosecution by Salt Lake City.2 He does not allege any specific action or threatened harm by

Defendants Biskupski and Allred that have caused him injury. He does not allege any attempt to

register or apply for a business license from Salt Lake City, and even acknowledges that he does

not intend to own or operate a brothel. See Complaint ¶ 88. Indeed, the only allegations against

the City Defendants merely identify Ms. Biskupski as the Mayor and Mr. Allred as the Business

License Manager. See Complaint ¶¶ 13, 16. Plaintiff has not shown how his alleged injuries are

related to or were caused by the acts of the City Defendants, nor how the requested relief would


2
        Although Plaintiff has not alleged actual or threat of prosecution by the City, under Utah
Code § 10-3-928, the City Attorney may prosecute violations of City ordinances, and may
prosecute, under state law, infractions and misdemeanors occurring within the boundaries of the
municipality. However, neither Biskupski nor Allred have the authority to enforce or prosecute
alleged criminal violations under state law. Thus, the necessary element of causation is lacking.
See Bronson, 500 F.3d at 1109-10. Likewise, redressability is not met where a defendant has no
authority to enforce a challenged statute. See id. at 1111-12.
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redress his harm. The City Defendants cannot change state law or force the state to provide a

business license.

       Accordingly, Plaintiff cannot state a claim for relief against the City Defendants and

Plaintiff’s Complaint should be dismissed against the City Defendants as a matter of law.

       DATED this 19th day of May, 2017.

                                                      /s/ Catherine L. Brabson
                                                    CATHERINE L. BRABSON
                                                    Attorney for Defendants Jackie Biskupski
                                                    and James Allred




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                                CERTIFICATE OF SERVICE

       I hereby certify that on 19th day of May, 2017, a true and correct copy of the CITY
DEFENDANTS’ RESPONSE TO PLAINTIFF’S SUPPLEMENTAL BRIEF RE:
RIPENESS AND STANDING was electronically filed with the Court using the CM/ECF
system, which sent notice to the following:

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And was sent via email and first class mail, postage prepaid, to the following:

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Plaintiff

                                                       /s/ Lindsay Ross


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